From:           Murphy, Lindsay M. (CIV)
To:             "Alexander A Abdo"; "Alexandra Conlon"; "Courtney Gans"; "Jackson Busch"; "jameel.jaffer"; "Michael
                Tremonte"; "Noam Biale"; "Ramya Krishnan"; "scott.wilkens"; "Talya R Nevins"; "Xiangnong Wang"
Cc:             Busen, Jesse (CIV); Hennes, Stefanie (CIV); Kanellis, William G. (CIV); Kanter, Ethan (CIV); Moss, Benjamin M.
                (CIV); Santora, Victoria M (CIV); Stone, Paul (CIV); Strokus, Jessica D. (CIV); Yen, Shawna (USAMA)
Subject:        AAUP: Responses and Objections to Plaintiffs" Interrogatories
Date:           Saturday, June 21, 2025 8:47:00 PM
Attachments:    06.21.2025 AAUP Defs Responses and Objections to Plfs First Set of Interrogatories.pdf



Hi Noam,
Attached, please find Defendants’ responses and objections to Plaintiffs’ interrogatories.
Please note that we will be following up on Monday with our verifiers’ signatures. They weren’t
all available to sign tonight, but we wanted to get our response to you as soon as they were
ready.
Lindsay
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